                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                      )
                                              )
v.                                            )          No. 3:12-00013
                                              )          JUDGE CAMPBELL
JESSICA PARKER                                )


                                          ORDER

       Pending before the Court is the Defendant’s Motion To Continue Sentencing Hearing

(Docket No. 820). Through the Motion, the Defendant seeks to continue the sentencing hearing,

currently set for December 22, 2014, to December 23, 2014.

       The Motion is GRANTED. Accordingly, the sentencing hearing is CONTINUED until

December 23, 2014, at 11:00 a.m.

       It is so ORDERED.


                                                  TODD J. CAMPBELL
                                                  UNITED STATES DISTRICT JUDGE




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